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            EXHIBIT 18
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                                                                      Page 1

   1                            UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
   2                                 ALEXANDRIA DIVISION
   3
                      __________________________
   4                                            :
                      UNITED STATES OF AMERICA, :
   5                  et al.,                   :
                                                :
   6                         Plaintiffs         :
                                                :
   7                      v.                    : No.        1:23-cv-00108
                                                :
   8                  GOOGLE, LLC,              :
                                                :
   9                         Defendants.        :
                      __________________________:
  10
  11                              Tuesday, August 15, 2023
  12
                              Video Deposition of ALLEN OWENS,
  13
                      taken at the Law Offices of Paul, Weiss, Rifkind,
  14
                      Wharton & Garrison LLP, 2001 K St NW, Washington,
  15
                      DC, beginning at 9:37 a.m. Eastern Standard Time,
  16
                      before Ryan K. Black, Registered Professional
  17
                      Reporter, Certified Livenote Reporter and Notary
  18
                      Public in and for the District of Columbia
  19
  20
  21
  22
  23
  24
  25      Job No. CS6037511

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                                                                     Page 2                                                   Page 4
       1    A P P E A R A N C E S:
       2
                                                                                1         THE VIDEOGRAPHER: Good morning. We're
       3    UNITED STATES DEPARTMENT OF JUSTICE                                 2   going on the record at 9:37 a m. on August 15th,
            ANTITRUST DIVISION
       4    BY: JIMMY MCBIRNEY, ESQ                                             3   2023. Please note that the microphones are
                CHASE PRITCHETT, ESQ                                            4   sensitive and may pick up whispering and private
       5        ALVIN CHU, ESQ
                MARK SOSNOWSKY, ESQ - Via Zoom                                  5   conversations. Please mute your phones at this
       6        KATHERINE CLEMONS, ESQ - Via Zoom
                JULIA TARVER-WOOD, ESQ - Via Zoom
                                                                                6   time. Audio and video recording will continue to
       7    450 5th Street, N W                                                 7   take place unless all parties agree to go
            Washington, DC 20530
       8    202 514 2414                                                        8   off the record.
            jimmy mcbirney@usdoj gov                                            9         This is Media Unit 1 of the
       9    chase pritchett@usdoj gov
            alvin chu@usdoj gov                                                10   video-recorded deposition of Mr. Allen Owens
      10    mark sosnowsky@usdoj gov
            katherine clemons@usdoj gov
                                                                               11   in the matter of United States, et al., versus
      11    julia tarver-wood@usdoj gov                                        12   Google LLC, filed in the United States District
      12    Representing - The United States of America
      13                                                                       13   Court, Eastern District of Virginia, Alexandria
      14    PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,                      14   Division. Case Number 1:23-cv-00108-LMB-JFA.
            BY: MARTHA L GOODMAN, ESQ
      15       LEAH HIBBLER, ESQ                                               15         My name is Orson Braithwaite,
            2001 K St NW,
      16    Washington, DC
                                                                               16   representing Veritext Legal Solutions, and I'm
            202 223 7341                                                       17   the videographer. The court reporter is Ryan
      17    mgoodman@paulweiss com
            lhibbler@paulweiss com                                             18   Black from the firm Veritext Legal Solutions.
      18                                                                       19         Counsel will now state their appearances
            Representing - Google LLC
      19                                                                       20   and affiliations for the record.
      20
      21
                                                                               21         MS. GOODMAN: Martha Goodman of the law
      22                                                                       22   firm Paul Weiss on behalf of Google LLC, and I'm
      23
            ALSO PRESENT:                                                      23   joined by my colleague Leah Hibbler.
      24                                                                       24         MR. MCBIRNEY: Jim McBirney on behalf of
            Orson Braithwaite - Legal Videographer
      25    Ann Bruck - Department of the Navy                                 25   the Department of Justice on behalf of the United
                                                                      Page 3                                                  Page 5
        1               INDEX                                                   1   States and the witness.
        2    TESTIMONY OF: ALLEN OWENS                             PAGE
        3    By Ms. Goodman.................................6                   2         MR. PRITCHETT: Chase Pritchett on
        4              EXHIBITS                                                 3   behalf of the United States.
        5    EXHIBIT        DESCRIPTION                       PAGE              4         MR. CHU: Alvin Chu on behalf of the
        6    Exhibit 52 a document Bates Numbered
                      NAVY-ADS174029 through                                    5   United States.
        7             NAVY-ADS174060..................62                        6         MS. GOODMAN: And then will any
        8    Exhibit 53 a document Bates Numbered
                                                                                7   attorneys appearing remotely please state your
                      NAVY-ADS256935 through
        9             NAVY-ADS257031..................97                        8   presence.
       10    Exhibit 54 a document Bates Numbered                               9         MR. SOSNOWSKY: Mark Sosnowsky, U.S.
                      NAVY-ADS12756 through
       11             NAYV-ADS12800..................102
                                                                               10   Department of Justice.
       12    Exhibit 55 a document Bates Numbered                              11         MS. CLEMONS: Katherine Clemons,
                      NAVY-ADS241136 through                                   12   Department of Justice.
       13             NAVY-ADS241143.................111
       14    Exhibit 56 a document Bates Numbered                              13         MS. GOODMAN: Is there any --
                      NAVY-ADS15543 through                                    14         MS. BRUCK: Ann Bruck, Department of
       15             NAVY-ADS15622..................130                       15   Navy.
       16    Exhibit 57 a document Bates Numbered
                      NAVY-ADS19114 through                                    16         THE VIDEOGRAPHER: We have a Ms. Wood.
       17             NAVY-ADS19182..................146                       17         MS. TARVER-WOOD: Yes. This is Julia
       18    Exhibit 58 a document Bates Numbered
                                                                               18   Tarver-Wood from DOJ. I'm not officially
                      NAVY-ADS45197 through
       19             NAVY-ADS45206..................172                       19   entering an appearance. I'll be in and out
       20    Exhibit 59 a document Bates Numbered                              20   throughout the day.
                      NAVY-ADS103897 through
       21             NAVY-ADS103900.................182
                                                                               21         THE VIDEOGRAPHER: Thank you. Will the
       22    Exhibit 60 a document Bates Numbered                              22   court reporter please swear in the witness?
                      NAVY-ADS28530 through                                    23               * * *
       23             NAVY-ADS28531..................187
       24                                                                      24   Whereupon --
       25                                                                      25               ALLEN OWENS,

                                                                                                                   2 (Pages 2 - 5)
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                                                       Page 210                                                   Page 212
        1          MR. MCBIRNEY: Object to form.                   1            MR. MCBIRNEY: Objection. Assumes
        2          THE WITNESS: Sitting here today, I -- I         2   facts.
        3   cannot remember where I've seen that term.             3          THE WITNESS: Oftentimes, a lot of the
        4   BY MS. GOODMAN:                                        4   businesses that we use will be referred to as a
        5      Q. Do you recall ever seeing it in any              5   partner if we're doing business with them, so
        6   documents provided to you by VMLY&R?                   6   I -- I may have referred to Google as a partner.
        7      A. As mentioned a moment ago, I cannot              7   BY MS. GOODMAN:
        8   recall where I've seen the term.                       8      Q. Has Google helped the Navy with respect
        9      Q. And, thus, you don't know whether you've         9   to recruiting more sailors to join?
       10   seen it in any documents provided by VMLY&R,          10          MR. MCBIRNEY: Objection; foundation.
       11   correct?                                              11          THE WITNESS: We have found lots of
       12          MR. MCBIRNEY: Objection. Asked and             12   value in many of the Google buys that we've done.
       13   answered. Mischaracterizes the testimony.             13   BY MS. GOODMAN:
       14          THE WITNESS: Yeah. As I -- as I                14      Q. And the Google buys that you've done
       15   testified, I don't recollect where I've seen the      15   that you've found value in, does that relate to
       16   term.                                                 16   YouTube buys?
       17   BY MS. GOODMAN:                                       17      A. Yes.
       18      Q. Okay. Have you had any discussions              18      Q. Okay. And how about with respect to
       19   with anybody about the term Open Web Display          19   search?
       20   Advertising and what it means?                        20      A. Yes.
       21      A. Not to my knowledge.                            21      Q. Okay. Can you describe in any more
       22      Q. Prior to the filing of this lawsuit             22   detail the value that you have found in many of
       23   in January of 2023, were you aware of any             23   the Google buys that the Navy has done?
       24   anticompetitive conduct on the part of Google         24      A. In particular, some of the YouTube
       25   affecting Navy's advertising?                         25   activations we've had have had extremely high
                                                       Page 211                                                   Page 213
        1         MR. MCBIRNEY: You can answer that                1   video completion rates.
        2   question to the extent it does not disclose            2      Q. Any other --
        3   communications with counsel.                           3          THE VIDEOGRAPHER: Counsel, the Zoom's
        4         THE WITNESS: To my knowledge, no.                4   offline.
        5   BY MS. GOODMAN:                                        5          MS. GOODMAN: Let's take a break.
        6      Q. And how about prior to this lawsuit,             6          MR. MCBIRNEY: We're going to be here a
        7   did you ever have any concerns in your capacity        7   while.
        8   as the director of marketing for the Navy              8          THE VIDEOGRAPHER: The time is 5:07 p m.
        9   Recruiting Command that Google was engaging in         9   We're going off the record.
       10   anticompetitive conduct related to digital            10          (Recess taken.)
       11   advertising?                                          11          THE VIDEOGRAPHER: Time is 5:14 p.m.
       12         MR. MCBIRNEY: Object to foundation.             12   We're on the record.
       13         THE WITNESS: Prior to this, I had no            13   BY MS. GOODMAN:
       14   knowledge of nor reason to suspect that of            14      Q. Mr. Owens, can you describe any other
       15   Google.                                               15   instances that the Navy has found value in any of
       16   BY MS. GOODMAN:                                       16   the Google buys that it has done?
       17      Q. Prior to this lawsuit, did you have             17      A. Paid search, as well. We've found value
       18   ever -- did you ever have any concerns that           18   there.
       19   Google was engaging in any conduct that was           19          I don't have a list at the ready, but
       20   causing the Navy harm with respect to its digital     20   -- but there's -- it's been on many occasions.
       21   advertising?                                          21      Q. Can you approximate the number of
       22      A. Sitting here today, I can -- I can think        22   occasions that you've found value in Google buys
       23   of no reason to believe that.                         23   for the Navy?
       24      Q. You described Google, in fact, as a             24          MR. MCBIRNEY: Objection; foundation.
       25   partner of the Navy, right?                           25          THE WITNESS: Yeah. I -- I can't

                                                                                                54 (Pages 210 - 213)
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